             Case 1:24-bk-10228-VK                   Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44                                        Desc
                                                      Main Document    Page 1 of 9

 Attorney or Party Name, Address, Telephone & FAX NosState Bar No. & Email Address                          FOR COURT USE ONLY
 Michael Jay Berger (SBN 100291)
 Law Offices of Michael Jay Berger
 9454 Wilshire Boulevard, 6th floor
 Beverly Hills, CA 90212
 (310) 271-6223 Fax: (310) 271-9805
 California State Bar Number: 100291 CA
 E-mail: Michael.Berger@bankruptcypower.com




 El Individual appearing without attorney
 [ Attorney for: Mr. Tortilla, Inc.

                                               UNITED STATES BANKRUPTCY COURT
                                                CENTRAL DISTRICT OF CALIFORNIA
     n re.
                                                                                                            CASE NO.: 1:24-bk-10228-VK
                Mr. Tortilla, Inc.
                                                                                                            CHAPTER: 11




                                                                                                                  APPLICATION FOR ORDER
                                                                                                                    SETTING HEARING ON
                                                                                                                     SHORTENED NOTICE

                                                                                                                          [LBR 9075-1(b)]
                                                                              Debtor.




        Movant applies under LBR 9075-1(b) for an order setting a hearing on shortened notice on the following motion:

       a. Title of motion:    (1) Debtor’s Motion For An Order Authorizing Debtor To Satisfy Pre-Petition Claims of Critical
       Vendor Amazon.com Services, LLC Necessary For Debtor’s Continued Business Operation; Declaration of Anthony
       Alcazar In Support Thereof

        b.   Date of filing of motion:       March 1, 2024

2.     Compliance with LBR 9075-1 (b)(2)(A): (The following three sections must be completed)

       a. Briefly specify the relief requested in the motion:
       Debtor requests an authorization to satisfy Amazon.com Services, LLC’s (Amazon” or the “Critical Vendor”) pre-petition
       claims in order for the Debtor to be able to continue to transact business with Amazon without any interruption to its
       business. Debtor requests the hearing on shortened notice to avoid irreparable harm to the Debtor. Debtor produces
       and distributes tortilla products on Amazon.




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December2012                                                                             F 9075-1.1 .APP.SHORT.NOTICE
           Case 1:24-bk-10228-VK                   Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44                                       Desc
                                                    Main Document    Page 2 of 9

     b.     Identify the parties affected by the relief requested in the motion:

         Debtor, Amazon, and all other creditors.



     c.    State the reasons necessitating a hearing on shortened time:


     The hearing is necessitated on shortened time because if the Debtor’s ability to sell its products on Amazon and to
     transact business with Amazon is terminated or interrupted in any way, the Debtor’s business will be paralyzed, which
     will cause great reduction in Debtor’s revenue and hence, the inability of Debtor to propose a successful reorganization
     plan. The sales through Amazon’s purchase orders and Amazon’s online retail portals comprise roughly 62% of Debtor’s
     total revenue. Amazon issues an order for Debtor’s tortilla products every Sunday, which takes the Debtor approximately
     5 days to fulfill. Without the continued revenue from Amazon, Debtor will not be able to afford the materials to fulfill the
     weekly Amazon orders, leading to negative reviews of Debtor’s products and drastically reduced sales. This in turn
     would result in a huge loss of income for the Debtor, which Debtor needs in order to stay in business and generate
     income to fund its Plan of Reorganization.

     Additionally, the nature of Debtor’s business operation is critically dependent on maintaining a good relationship with
     Amazon and is extremely time sensitive. Amazon disburses funds to the Debtor on a bi-weekly basis. Due to the timing
     of the Debtor’s bankruptcy filing, part of the Amazon Fees that Amazon normally automatically deducts from the funds
     before issuing payments to Debtor include charges that were incurred pre-petition. However, because of the pending
     bankruptcy, Amazon is not allowed to deduct and apply payments toward pre-petition incurred expenses. Absent this
     Court’s order authorizing Amazon to deduct the Amazon Fees for the pre-petition period, it will need to administratively
     freeze sufficient funds in the Seller Account and retain a reserve to preserve its recoupment rights on the vendor
     payables, causing cash flow problems for the Debtor. Therefore, the Debtor requests that the hearing be set on
     shortened notice in order to allow the Debtor to continue to run its business without any hold on Debtor’s amazon
     accounts.


3.   Compliance with LBR 9075-1(b)(2)(B): The attached declaration of Anthony Alcazar justifies setting a hearing on
     shortened notice, and establishes a prima fade basis for the granting of the motion.

4.   Movant has lodged a proposed                        Order     Setting     Hearing      on     Shortened       Notice      on    mandatory   Form
     9075-1.1 .ORDER.SHORT.NOTICE




 Date:      31112024                                                               Law Offices of Michael Jay Berger
                                                                                   Printed name of law firm (if applicable)

 Michael Jay Berger                                                               Isi Michael Jay Berger
 Printed Name of individual Movant or attorney for Movant                         Signature of individual Movant or attorney for Movant




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          Case 1:24-bk-10228-VK          Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44               Desc
                                          Main Document    Page 3 of 9



     1                           DECLARATION OF ANTHONY ALCAZAR

     2            I, Anthony Alcazar, declare and state as follows:

                  1.      I am the President and Director of Mr. Tortilla, Inc., the Debtor and Debtor-in-
     4
          Possession (the “Debtor”). lam over the age of 18. 1 have personal knowledge of the facts I
     5
          state below, and if I were to be called as a witness, I could and would competently testify about
     6
          what I have written in this declaration.

     8           2.      On March 1, 2024, Debtor filed a Motion for Order Authorizing Debtor to Satisfy

         Pre-Petition Claims of Critical Vendor Amazon.com Services, LLC Necessary for Debtor’s
 10
         Continued Business Operation; Declaration of Anthony Alcazar In Support Thereof (“Critical
11
         Vendor Motion”).
12
13               3.      Debtor’s Critical Vendor Motion requests authority to satisfy Arnazon.corn

14       Services, LLC’s (“Amazon” or the “Critical Vendor”) pre-petition claims in order for the Debtor
15
         to be able to continue to transact business with Amazon without any interruption to its business.
16
         Debtor requests the hearing on shortened notice to avoid irreparable harm to Debtor. Debtor
17
18       produces and distributes tortilla products on Amazon.

19               4.      The parties affected by the relief requested in the Critical Vendor Motion are the
20       Debtor, Amazon, and all other creditors.
21
                 5.     The hearing is necessitated on shortened time because if the Debtor’s ability to
22
         sell its products on Amazon and to transact business with Amazon is terminated or interrupted in
23
24       any way, the Debtor’s business will be paralyzed, which will cause great reduction in Debtor’s

25       revenue and hence, the inability of Debtor to propose a successful reorganization plan. The sales
26       through Amazon’s purchase orders and Amazon’s online retail portals comprise roughly 62% of
27
         Debtor’s total revenue. Amazon issues an order for Debtor’s tortilla products every Sunday,
28




          DECLARATION IN SUPPORT OF APPICATION FOR ORDER SETTING HEARING ON SHORTENED NOTICE
      Case 1:24-bk-10228-VK            Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44                     Desc
                                        Main Document    Page 4 of 9




           which takes the Debtor approximately 5 days to fulfill. Without the continued revenue from
      1
     2     Amazon, Debtor will not he able to afford the materials to fulfill the weekly Amazon orders,

     3     leading to negative reviews of Debtor’s products and drastically reduced sales. This in turn

           would result in a huge loss of income for the Debtor, which Debtor needs in order to stay in
     5
           business and generate income to fund its Plan of Reorganization. Additionally, the nature of
     6
           Debtor’s business operation is critically dependent on maintaining a good relationship with

     8     Amazon and is extremely time sensitive. Amazon disburses funds to the Debtor on a hi-weekly

          basis. Due to the timing of the Debtor’s bankruptcy filing, part of the Amazon Fees that Amazon
 10
          normally automatically deducts from the funds before issuing payments to Debtor include
 11
          charges thai were incurred pre-petition. However, because of the pending bankruptcy, Amazon
 12
 13       is not allowed to deduct and apply payments toward pre-petition incurred expenses. Absent this

14        Court’s order authorizing Amazon to deduct the Amazon Fees for the pre-petition period, it will
15        need to administratively freeze sufficient funds in the Seller Account and retain a reserve to
16
          preserve its recoupment rights on the vendor payables, causing cash flow problems for the
17
          Debtor. Therefore, the Debtor requests that the hearing be set on shortened notice in order to
18
19        allow the Debtor to continue to run its business without any hold on Debtor’s amazon accounts.

20               I declare under penalty of perjury that the foregoing is true and correct and that this
21
          declaration is executed on March 1,2024 at San Fernando, California.
22



                                                                 Arionyv Icazar
25
26
27
28




          DECLARArlor’4 IN SUPPORT OF APPICATION FOR ORDER SETTING HEARING ON SHORTENED NOTICE
          Case 1:24-bk-10228-VK                   Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44                                        Desc
                                                   Main Document    Page 5 of 9


                                              PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
9454 Wilshire Boulevard, 6th floor
Beverly Hills, CA 90212

A true and correct copy of the foregoing document entitled (specify):    Application for Order Setting Hearing on Shortened
Notice will be   served or  was  served (a) on the judge in chambers  in the form and manner required by LBR 5005-2(d): and (b) in the
manner stated below:




1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders and LBR,
the foregoing document will be served by the court via NEF and hyperlink to the document, On 3/1/2024        I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail Notice
List to receive NEF transmission at the email addresses stated below:

Debtor’s Proposed Counsel: Michael Jay Berger                   rnichael.berger@bankruptcypower.com,

U.S. Trustee: Katherine Bunker kate.bunkcrusdoj.go
United States Trustee (SV) ustpregion I 6.wh.ecfusdoj .gov


                                                                                  fl Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On         I served the following persons and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by
placing a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as
follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
document is filed.



                                                                                  F Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for each
person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 3/1/2024          I served the following persons and/or
                                                                                                       ,



entities by personal delivery, overnight mail service, or (for those who consented in writing to  such service method), by facsimile
transmission and/or email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the
judge will be completed no later than 24 hours after the document is filed.

Chambers of the Honorable Victoria S. Kaufman
United States Bankruptcy Court
21041 Burbank Blvd., Suite 354
Woodland Hills, CA 91367



                                                                                 [ Service information continued on attached page
I declare under penalty of perjury under the laws of the United States of America that the foregoing is true and correct.
  31112024                  Yathida Nipha                                     /s Yathida Nipha
Date                         Printed Name                                               Signature




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         Case 1:24-bk-10228-VK                    Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44                                       Desc
                                                   Main Document    Page 6 of 9
 3. Served by Email:

U.S. Trustee:
Katherine Bunker
  te,hiinkei’_(b1fJ.O

SECURED CREDITORS:

8FIG Advance
Attn: Legal Dept.
Ieal ‘ti8fie.corn

Amazon Capital Services:
Attn: Lauren Dorsett & Michael Gearin
I aurendo rsctt(c7dwt. corn
mikegçind’kliatcs.corn

Blue Bridge Financial
Attn: Amy Joy
 jah1uchridgc iinancial.coni
Leeal’ihluebridgeflnancia1.con

Bluevine
Attn: Officer
Support I. hi uevi ne .com

Cedar Advance
Attn: Simon Cedar
si monu’cedaradvance.com

Corporation Service Company
SPRl’ihnui;cscgbaLcom; UCCSPREP@cscglobal.com

CT Corporation
fjjJnturn@wolterskluwer.com


Fasanara Securitisation S.A. Acting
jppothdata.com

Financial Pacific Leasing
Attn: Allison Sweet
A Sweei’u j:i1p..e .com

First Corporate Resolution
SPRS@FICOSO.COM

Huntington Valley Bank
Attn: Erin
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         Case 1:24-bk-10228-VK                   Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44                                       Desc
                                                  Main Document    Page 7 of 9
 Mercury Capital
 info@>mcadv.corn

 Metropolitan Capital Bank & Trust
 Attn: Jeffrey Brown
 rrabin@thompsoncoburn.com ; jhrownthompsoncohurn.com

 Parkside Funding Group LLC
 Attn: Adriana Harris
 Adri unaãnomasrecovery.com

 Partners Personnel Management Services, LLC
 Attn: Cherly Canty
 ccpcibi4ft.gp’p

 Robert Reiser and Company
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Sand Park Capital
Attn: Simon Cedar
sinionacedaradvance.con

Sellers Funding
Attn: Officer
osaro(asellerstLeom; Iegal@sellersFi.com

Shopify Capital
1ibl uehriclgelinancial.com

Slope Advance
Attn: Ashish Jam
ashish:slqpe.com

Spartan Capital
Attn: Jason Gang
a Sofl(a1 asoiiean.com

Stor RB One Limited
uccfllingreturna\volterskluwer.com

U.S. Business Administration
Attn: Elan Levey
elan. levevausdo j .gov

20 LARGEST UNSECURED CREDITORS

Easy Post
Attn: Dustin Henrie
dhcnnc’aeasypost.com

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December2012                                                                        F 9075-1.1 .APP.SHORT.NOTICE
         Case 1:24-bk-10228-VK                   Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44                                       Desc
                                                  Main Document    Page 8 of 9


 Facebook
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 Fleetcor Technologies Inc.
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IRS
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Attn: Billing Dept.
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Parker Group Inc.
Attn: Larry Nessenson, Esq.
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Ramp
Attn: Officer
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Jeeves
alex(ãtrveeves.com; lueio(Zjce\’es.cppt

Southern California Edison
Anthony Tarantino
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UPS
Attn: Mary Kay
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We Pack it All


Rapid Fulfillment LLC
Attn: Adam Brumage
‘\ Brumteca:collectinoore.com




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          Case 1:24-bk-10228-VK                    Doc 47 Filed 03/01/24 Entered 03/01/24 17:10:44                                       Desc
                                                    Main Document    Page 9 of 9
 Frisbi
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 Taboola
 Attn: Fred Sampliner
 {fsampliner@sampliner.com”} nrninassian@hatkofflaw.com

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 Bakers Authority
 voniahakersauthoriy.com

 Attentive Mobile
 GMCCkEAD1Ed:nixonpeahody.com

 SoCal Gas
cuStorncrsCrviCctC/SOcalgaS.cOrfl


Republic Services
cct’(( rcpuhliescrviccs coin

ADDITIONAL CREDITORS:

AreBest. Inc.
(1 lottfa arch .com

Old Dominion Freight Line, Inc.
AUn: Rusty Frazier
1!i!Y li’azier’aodfl.coni

TikTok Inc.
AUn: Ernely Andino
ash I I lincahvtedancc.coiu

Pawnee Leasing Corp.
l3aiikruplcv’/ pawncclcasiiigçoii




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